  UNITED STATES BANKRUPTCY COURT
  WESTERN DISTRICT OF NEW YORK
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  In re                                                      :
                                                             :   Chapter 11
  Gates Community Chapel of Rochester, Inc.                  :
  d/b/a Freedom Village USA                                  :   Case No. 2-18-20169 (PRW)
  d/b/a Operation Mercy                                      :
                                               Debtor.       :
  --------------------------------------------------------   x

          LIMITED OBJECTION OF THE UNITED STATES TRUSTEE TO THE
               APPLICATION FOR AN ORDER AUTHORIZING THE
                EMPLOYMENT OF GALVIN REALTY GROUP, INC.
                         AS REAL ESTATE BROKER

 TO:     THE HONORABLE PAUL R. WARREN,
         UNITED STATES BANKRUPTCY JUDGE:

         William K. Harrington, the United States Trustee for Region 2 (the “United States

 Trustee”), in furtherance of the duties and responsibilities set forth in 28 U.S.C. § 586(a)(3) and

 (5), hereby respectfully files his Limited Objection (the “Objection”) to the entry of an order

 approving the application of Dibble & Miler, P.C., as bankruptcy counsel for the Debtor to

 employ Galvin Realty Group, Inc. as Real Estate Broker pursuant to 11 U.S.C. § 327(a) (“the

 Application”) [ECF Docket No. 32] based, inter alia, on the failure to list what property or

 properties the realtor is being employed to market and sell.

         As set forth below, the Application should not be approved until such time as counsel

 either withdraws the request or specifically identifies through a supplemental filing or exhibit

 what property or properties are covered by the listing agreement with this particular professional.

                                              I. BACKGROUND

 A.      Jurisdiction and Standing

         1.       This court has jurisdiction over this motion pursuant to 28 U.S.C. §§ 157 and

 1334. This proceeding arises under 11 U.S.C. §§ 327(a), 329 and 101(14) and Fed. R. Bankr. P.



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 2014 and 9024 and Fed. R. Civ. P. 60(b) (1), (2) and (6). The United States Trustee has standing

 to bring this motion pursuant to 28 U.S.C. § 586 and 11 U.S.C. § 307.

 B.     General

        2.      On February 23, 2018 (the “Petition Date”), Gates Community Chapel of

 Rochester, Inc. d/b/a Freedom Village USA d/b/a Operation Mercy (the “Debtor”) filed a

 petition for relief under chapter 11, title 11, United States Code (the “Bankruptcy Code”).

 [Docket No. 1]

        3.      The Debtor currently is managing its affairs pursuant to Sections 1107 and 1108

 of the Bankruptcy Code. No trustee or examiner has been appointed in this case.

 C.     The Application to Employ Galvin Realty Group, Inc.

        4.      On March 22, 2018, the Debtor, through its counsel, filed an ex-parte application

 seeking the retention of Galvin Realty Group, Inc., as the Debtor’s real estate broker pursuant to

 Section 327(a) of the Bankruptcy Code. [ECF Docket No. 32]

        5.      The Application states in its introductory paragraph and again at paragraph six

 that the debtor desires to employ the broker to act as listing agent for the “sale of some real

 property located in and around Yates County.”

                                         II. DISCUSSION

 The Governing Law

        Section 327(a)

        Pursuant to Section 327(a):
        the trustee, with the court’s approval, may employ one or more attorneys,
        accountants, appraisers, auctioneers, or other professional persons, that do not hold
        or represent an interest adverse to the estate, and that are disinterested persons, to
        represent or assist the trustee in carrying out the trustee’s duties under this title.

 11 U.S.C. § 327(a).


                                                  [2]

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        Rule 2014       Employment of Professional Persons

        Pursuant to Rule 2014(a):
        The application shall state the specific facts showing the necessity for the employment,
        the name of the person to be employed, the reasons for the selection, the professional
        services to be rendered, any proposed arrangement for compensation, and, to the best of
        the applicant’s knowledge, all of the person’s connections with the debtor, creditors, any
        other party in interest, their respective attorneys and accountants, the United States
        trustee, or any person employed in the office of the United States trustee.

 Federal Rule of Bankruptcy Procedure 2014(a).

        Rule 2014 provides the procedure for a debtor in possession to obtain an order approving

 the employment of professionals. The requirements of Rule 2014 are that specific facts are

 necessary. Without knowing what property or properties the debtor intends to list for sale, one

 cannot determine if the employment is reasonable and necessary to the estate.

        Therefore, the United States Trustee objects to the Application until such time as counsel

 either withdraws the request or specifically identifies through a supplemental filing or exhibit what

 property or properties are covered by the listing agreement with this particular professional..

                                        IV. CONCLUSION

        WHEREFORE, the United States Trustee respectfully requests that the Court deny

 approval of the employment of Galvin Realty Group, Inc., as real estate broker for the Debtor and

 grant such other and further relief as the Court may deem just and proper.

 Dated: March 30, 2018                                 Respectfully submitted,

                                                       WILLIAM K. HARRINGTON
                                                       UNITED STATES TRUSTEE, REGION 2

                                               By:      /s/Kathleen D. Schmitt
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